Case 2:21-cv-20706-MEF-ESK Document 24 Filed 12/27/22 Page 1 of 1 PageID: 196




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  John Doe.
                                                        Case No. 2:21-cv-20706
                Plaintiff,

        v.

 Baila Sebrow

                Defendant

                     NOTICE OF MOTION TO STRIKE DEFENDANT
                            BAILA SEBROW’S ANSWERS

       PLEASE TAKE NOTICE that on February 6, 2023, at 10:00 a.m., or such other time as

fixed by the Court, the undersigned attorney for the plaintiff, JOHN DOE, will move before the

United States District Court of the District of New Jersey, to strike defendant Baila Sebrow’s

answer for failure to comply with Rule 26.1 and this Court’s orders, to enter a default judgment

against defendant, and to set this matter down for an inquest.

       In support of this motion, the Plaintiff will submit the Declaration of Daniel S.

Szalkiewicz, Esq and Brief in Support. A proposed Order is also submitted herewith pursuant to

Local Rule 7.1(e).

Dated: December 27, 2022
       New York, New York
                                                     Respectfully submitted,

                                                     /s/Daniel Szalkiewicz
                                             By:     Daniel S. Szalkiewicz, Esq. (DS2323)


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